






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00617-CR






Israel Lee Grotzinger, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF COMAL COUNTY, 207TH JUDICIAL DISTRICT

NO. CR-2009-273, HONORABLE GARY L. STEEL, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		A jury convicted Israel Lee Grotzinger of online solicitation of a child and
indecency&nbsp;with a child by contact.  After a hearing on punishment, the trial court assessed as
punishment concurrent terms of ten years in prison for the online solicitation offense, probated for
ten years, and fourteen years in prison for the indecency offense.

		Appellant's court-appointed attorney has filed a motion to withdraw as counsel
supported by a brief concluding that this appeal is frivolous and without merit.  The brief meets the
requirements of Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional
evaluation of the records demonstrating why there are no arguable grounds to be advanced.  See
Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie
v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim.
App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy
of counsel's brief and was advised of his right to examine the appellate record and to file a pro se
brief.  See Anders, 386 U.S. at 744.  No pro se brief has been filed and no extension of time to file
a pro se brief has been requested.

		We have reviewed the record and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  We agree with counsel that this appeal is frivolous.  Counsel's motion to withdraw is
granted.  The judgment of conviction is affirmed.



						                                                                                     

						Jeff Rose, Justice

Before Justices Puryear, Rose and Goodwin

Affirmed

Filed:   August 10, 2011

Do Not Publish


